            Case 19-15668-elf         Doc 66 Filed 12/20/21 Entered 12/20/21 12:25:29                 Desc
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                                      UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF PENNSYLVANIA



In re:                                                           : Chapter 13


Joseph Prince                                                    : Case No. 19−15668−elf
                   Debtor(s)


                                                    ORDER
                                 _____________________________________________


         AND NOW, this day , 20th of December, 2021 , it appearing that the trustee in the above

entitled matter has filed his report and that the trustee has performed all other duties required

in the administration of the debtor(s) estate, it is



         ORDERED that the trustee be discharged and relieved of any trust; and this case be, and

the same hereby is, closed.



                                                                 By The Court

                                                                 Eric L. Frank
                                                                 Judge , United States Bankruptcy Court




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                                                                                                             Form 195
